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                          EXHIBIT 2




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                                                                              Exhibit 5




                                                 FABRICATION




                           EMPLOYEE HANDBOOK

         GBM -Airport         GBM -Adams          GB Fabrication -      GB Fabrication -
                                                      Shiloh               Shelby
           PO Box 8
        1120 E Main St        100 Adams St           60 Scott St       2510 Taylorstown Rd
       Delta, OH 43515       Delta, OH 43515      Shiloh, OH 44878      Shelby, OH 44875
     Phone: 419.822.5323   Phone: 419.822.5323   Phone: 419.896.3191   Phone: 419.347.1835
          After Hours:         After Hours:       Fax: 419.896.2127     Fax: 419.347.1851
         419.822.9446         419.822.9446




                                                                                          EXHIBIT
                                                                                            2



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                             Employee Handbook




      Any reference to GB in this handbook applies to all GB facilities and
      employees, including wholly owned subsidiaries of R&P Industries




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                                          WELCOME!
       Whether you have just joined our staff or have been a team member for a while, we are
       confident that you will find our company a dynamic and rewarding place in which to
       work and we look forward to a productive and successful working relationship.

       We consider the employees to be our most valuable resource in order to meet our
       vision for the future. We believe to successfully meet our vision for the future “everyone"
       must first understand and actively practice our core values:
           1. We can and we will
           2. We see it and we share it
           3. We improve and we all win

       As an employee., the importance of your contribution cannot be overemphasized. Our
       company’s success is clearly defined through our “Quest to Be Best” (QBB) scorecard.
       This can be achieved through these efforts in your work activities:
          1. Adhering to Core Values
          2. Submitting innovative solutions
          3. Focusing on customer satisfaction (make quality parts, return calls, ship on time)
          4. Working on what will provide biggest impact for our efforts

       My responsibility is to communicate “honestly and frequently" on where we stand and to
       provide our employees the tools, time, and training to succeed.

       This manual has been written to serve as the guide for the employer/employee
       relationship, and to help you get acquainted with us and to answer many of your
       questions as an employee. In an effort to be responsive to the needs of a growing
       organization, changes or additions to this handbook will be made when necessary. We
       will keep you informed when these changes are made.

       We are sincerely glad you are part of our great company and hope you will find your
       work here to be both challenging and rewarding. Welcome to the team!

       Sincerely,




       Nelson Reyes
       President & CEO




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          CORE VALUES SPEECH
          To be a part of our growing business everyone must believe, embrace, and
          demonstrate our core values.
             • We can and we will
             • We see it and we share it
             • We improve and we all win

          We can and we will!
          This value is about having a positive, helpful attitude and being proactive in solving
          problems.
          Excuses waste time and energy, and get in the way of problem solving.
          We can achieve great things with teamwork.
          We will see Total Customer Satisfaction.
          Ultimately, we accept nothing less.

          We see it and we share it
          We practice proactive transparency (seeing and sharing it) thru visual boards, metrics,
          newsletters, and company meetings. In return we must expect transparency and
          proactive communication from everyone.
          We embrace a culture of openness, listening, and respectful communication. We must
          promote teamwork within and among departments.
          Everyone is on the same page.

          We improve and we all win!
          Continuous improvement is part of our culture. We are innovative problem solvers.
          Simplify. If we all focus on simplifying our organization, we can improve faster than our
          competitors!
          Simplify, standardize, and document every step of the process to make the job easier
          and reduce workplace frustrations.
          The best ideas come from those doing the job every day.
          Own It.

          We can and we will!
          We see it and we share it!
          We improve and we all win!




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          OPERATING PHILOSOPHIES

          Purpose of an Employee Handbook
          The purpose of this handbook is to provide you with valuable information about your
          employment. It provides you with a summary of benefits, policies, procedures, training,
          and other miscellaneous information regarding your employment with us. If any
          questions arise regarding the interpretation of these policies, the answer will be
          determined by reference to the actual plan documents and policies rather than the
          summaries contained in this handbook.

          This handbook cannot anticipate every situation or answer every question about
          employment. It is not an employment contract and is not intended to create contractual
          obligations of any kind. Our company abides by employment-at-will, which permits the
          company or the employee to terminate the employment relationship at any time, for any
          reason, with or without notice.    Neither the policies contained in this employee
          handbook nor any other written or verbal communication, are intended to create a
          contract of employment or a warranty of benefits.

          You are responsible for reading, understanding, and complying with the material
          contained in it. If you have any questions that are not answered by referring to this
          handbook, do not hesitate in seeking the answers from your supervisor or the Human
          Resource Department.



          How We Feel About Unions
          Our company is a company rich in heritage and strong in ingenuity. We are a team of
          people who make up a company that is a major supplier of a wide variety of products
          made from steel and related materials for the truck, automotive and industrial markets.
          As one of its basic objectives, our company strives toward maintaining an atmosphere
          of mutual respect, trust and cooperation among all employees.

          Our company is determined to remain a leading supplier to the customers and markets
          we serve, and we realize that our present success is largely the result of our valued
          employees. It is your efforts, both individually and collectively, that gives us our
          competitive edge. All of us in a union free environment believe that our success as a
          company is founded on the skills, efforts and commitment of our valued employees. It
          is therefore our policy to keep an open-door policy with our employees, fairly, honestly,
          to respect and recognize each of them as valuable individuals with a contribution to the
          team. For this reason, we believe a union-free environment is in their best interests, the
          best interests of the company and the best interests of our customers.

          We are a union-free environment and our team is able to approach directly with
          management, with the full right to discuss issues, concerns and ideas for themselves. It
          is not necessary, nor will it ever be necessary, for our employees to belong to a union in
          order to work for this company and be treated fairly.
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CONFIDENTIAL                                                                                           DEF 000025
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          We are convinced that our employees prefer to deal directly with management rather
          than through a union. Our employees have made progress for many years because we
          have been able to work together and work in harmony. Our philosophy is to do
          everything possible to continue and improve this excellent working relationship. In view
          of this, we will vigorously oppose any attempt by any union to break up the relationship
          that exists between us and GBM and GBF.             We feel that a union is not only
          unnecessary but that it would be detrimental. We will continue to exert considerable
          effort toward maintaining an atmosphere that fosters mutual respect and cooperation
          and eliminates the abuses that give impetus to unionization.

          All members of management will be happy to discuss any questions you may have
          about our union-free philosophy, which we feel can help us all concentrate on our
          number one job - providing top quality products and services to our customers -
          the only real job security.

          Mission Statement
          To be   a global, full-service metal forming supplier of choice with strategies focused on:
             •    Superior Customer Satisfaction
             •    Employee Care
             •    Operational Excellence
             •    Profitable Growth

          Quality Policy

           The GBM & GBF team is committed to safely producing quality products
           on time with the support of our suppliers. We will accomplish this through
              continually improving our organization & customer satisfaction.
                  The pride, spirit and strength of GBM & GBF is our people!!!

          Environmental Policy

          GBM & GBF are committed to leadership and excellence in protecting
          people and the environment. All employees strive to create and maintain
          workplace conditions in a manner that ensures safety and protection of the
          environment. Each employee has the primary responsibility to ensure that
          our products and operations meet industry and governmental standards.


          As employees of GBM & GBF, we are committed to our Environmental
          Policy:
          To protect the environment by striving to continually improve
          facilities and processes to prevent pollution and minimize waste.
          To protect the environment by setting environmental objectives and
          targets.

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CONFIDENTIAL                                                                                            DEF 000026
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          To meet or exceed all legal, regulatory and other requirements.
          This policy is communicated to ail employees and is available to the
          public.

          Safety Policy

          MANAGEMENT STATEMENT
          The health, welfare and safety of our employees are of the utmost importance to
          Company. Our goal is to prevent human suffering. Accidents, even minor ones, cause
          pain. Prevention of injury and illness is a goal well worth achieving.

          The commitment of GBM & GBF is to strive for the highest possible safety standards.
          All employees endeavour to create and maintain workplace conditions in a manner that
          ensures their safety and the safety of their co-workers. Safety does not occur by
          chance - it is the result of careful attention to all company operations and activities by
          those who are directly and indirectly involved. Employees at all levels must work
          diligently to execute the Company's policy of assuring and maintaining a safe
          workplace.

          Furthermore, we are committed to providing and ensuring a workplace environment free
          from threats, harassment and violence.

          EMPLOYEE STATEMENT
          The health, welfare and safety of our co-workers are as important as our own safety.

          The commitment of GBM & GBF employees is to be attentive to safety and report
          potential hazards immediately. Safety is everyone’s responsibility and we all must work
          together diligently toward our goal of maintaining a safe workplace.

          Equal Employment Opportunity Policy
          It is the policy of GBM & GBF is to provide equal opportunity for all qualified persons
          and to prohibit discrimination in employment because of race, color, religion, physical or
          mental disability, age, sex, national origin, pregnancy, marital status or veteran status,
          or any other characteristic protected by federal, state or local law.

          All decisions pertaining to employment promotions, demotions, transfers, layoffs,
          terminations, access to training and benefits and rates of pay will be executed for all
          individuals on the basis of merit, qualifications and abilities
          You may discuss equal employment opportunity-related questions with the Human
          Resource Manager or any member of the company staff.
          Diversity Policy
          GBM & GBF values and acknowledges each employee's unique skills and contributions.
          We believe that diverse backgrounds and experiences within our workforce bring
          additional talent and creativity to the workplace. We provide an environment which
          promotes treating each other with dignity, respect, and encourages each individual to
          reach his or her full potential.

          It is the policy of GBM & GBF to provide equal opportunity for ail qualified persons and
          to prohibit discrimination in any employment activities.
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          Hiring and Retention Policy
          The company strives to maintain a safe and secure working environment for all its
          employees, to maintain a qualified workforce, and to comply with applicable laws. As a
          means to accomplish this, we have implemented a Hiring and Retention Policy for its
          applicants and employees.

          All new employees will be subject to a background check. Some reasons for
          implementing this policy are that we want to provide a safe and secure working
          environment for our employees. We subject final candidates for employment to various
          background checks, drug screening, and skill tests as defined by the position applied
          for. All new/rehire employee will be in a probationary/introductory period for the first 60
          days.

          We comply with the Immigration Reform and Control Act of 1986 by employing only
          United States citizens and non-citizens who are authorized to work in the United States.
          All employees are asked on their first day of employment to provide original documents
          verifying the right to work in the United States and to sign a verification form required by
          federal law (INS Form I-9). If an individual cannot verify his/her right to work within
          three days of hire, Company must terminate his/her employment.

          Ethical Practices Policy
          It is the express policy of GBM & GBF to conduct all of its business practices and
          activities with the highest ethical standards of conduct and with honest and respectful
          treatment of all parties with which we do business including customers, employees and
          suppliers. Specifically, it the responsibility of each and every employee to:

               •   Avoid unethical or compromising practices in relationships, actions &
                   communications
               •   Avoid any activity that would create a conflict between personal interests and the
                   interests of the company
               •   Handle confidential or proprietary information with due care and proper
                   consideration of ethical and legal ramifications and governmental regulations
               •   Encourage and support socially diverse practices
               •   Conduct all business activities in accordance with local, national and international
                   law, customs and practices
               •   Promote positive supplier relationships through courtesy and impartiality
               •   Conduct all business activities in a professional manner and with respect for
                   other parties
               •   Whistle-blower protection policy
          GENERAL POLICIES & PROCEDURES
          Employee Complaint Resolution
          The company is concerned with any situation affecting the employment relationship and
          committed to correcting any condition or situation that may cause unfairness or
          misunderstanding. We have provided an orderly manner for an employee to discuss a
          problem with Management without prejudice or fear of retaliation. Employees must
          follow the chain of command to get resolution.

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          While we expect that most matters can be addressed by the members of our leadership
          team, please know that all employees have the ability to talk directly with Human
          Resources at any time.

          Your job will not be adversely affected in any way because you choose to use this
          procedure.

          Solicitation and Distribution
          We have a strict solicitation policy which prohibits employees from soliciting other
          employees for any purpose, including purchases, contributions, signatures on petitions
          or any other written or printed material during working time. In addition, we do not allow
          any employees to distribute any written material during working time and in any working
          areas. The only exception to this is for fund raising activities for community charitable
          events, as approved by the organization.

          Non-employees are always prohibited from solicitation and distribution of literature on
          these premises. Please do not invite or encourage any non-employee to violate our
          rule.

          Right to Search
          Our right to search policy has been implemented to reduce theft, provide a safe work
          environment and maintain a safe workplace. These searches may include, but are not
          limited to, an inspection of your person, electronic communications (emails and internet
          use), locker, desk, bag, coat, purse, briefcase, tool box or other such containers, as well
          as vehicles parked on our property. You should have no expectation of privacy with
          respect to such items. Failure to submit, upon request, to a search of any company
          property or personal property located in our facility, or on our grounds, may lead to
          progressive discipline up to and including immediate termination. Any time there is
          reasonable suspicion we may, at our sole discretion, choose to search any of the above
          items/locations.

          Privacy Policy
          We may share certain personnel/human resource data concerning its employees with
          non-affiliated third parties, including but not limited to third party administrators, when
          they are acting on our behalf, or acting jointly with us for the purpose of processing
          payroll, workers' compensation claims, unemployment benefits or any other such matter
          related to employment. Additionally, we may share data with other parties as permitted
          by law such as credit bureaus, government entities, in responding to subpoenas and
          other legal processes, and those with whom you have requested us to share
          information.

          Threats and Violence/Weapons-Free Policy
          Our company has a no-tolerance policy for violence or threats of violence. We strive to
          maintain a safe work environment free from intimidation, threats, or violent acts. This
          includes, but is not limited to, intimidating, threatening or hostile behaviours, physical
          assault or abuse, vandalism, arson, sabotage, use of weapons, carrying weapons onto
          company property, or any other act, which, in management’s opinion, is inappropriate to
          the workplace. In addition, bizarre or offensive comments regarding violent events
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          and/or behaviour are not tolerated. Under no circumstances are the following items
          permitted on company property, including parking areas: weapons, firearms, knives
          (other than a blade used for work related functions), dangerous materials or chemicals,
          explosives, (including blasting caps), or any other objects carried or used for injuring or
          intimidating. (CCW Manual states... Employers, business entities, property owners,
          public and/or private employers are not permitted to establish or enforce a policy that
          prohibits a concealed handgun licensee from transporting or storing a firearm or
          ammunition on their property under certain circumstances. For this restriction on
          employers and property owners to apply, several conditions must be met: 1. the firearm
          is in the vehicle while the licensee is physically present or, 2. the firearm and
          ammunition is locked within the trunk, glove box or other enclosed compartment or
          container within the vehicle and, 3. the vehicle is in a location where it is permitted to
          be).

          Employees who feel subjected to any of the behaviours listed above should immediately
          report the incident to any Supervisor, member of company staff, or to the Human
          Resource Department. Complaints will receive attention and the situation will be
          investigated. Based upon the results of the inquiry, or direct observation, disciplinary
          action may be taken, up to and including termination. Law enforcement authorities may
          be involved.

          Employees who observe or have knowledge of any violation of this policy should
          immediately report it to management. The company will act when unforeseen events
          occur and look to employees for support of this policy. For unforeseen, emergency
          events, employees should always contact proper law enforcement authorities,
          without any need to first inform any level of management, if they believe there is
          any threat to safety.


          Harassment Policy
          GBM & GBF value a professional environment where each employee is treated with
          respect and dignity. The company expressly prohibits any form of harassment based
          on sex, race, color, religion, pregnancy, national origin, age, disability, sexual
          orientation, or status as a veteran, or any other characteristic protected by federal,
          state, or local law.

          The company also recognizes that employees with life-threatening illnesses, and those
          employees living with disabilities may wish to continue their normal pursuits, including
          work. If these employees can meet performance criteria and their conditions do not
          pose a threat to themselves or to others, they will be treated consistently with other
          employees. Interference with the ability of employees to perform job duties is not
          tolerated. Any employee refusing to work with an employee with a disability or a
          disease, after receiving information concerning the disability or disease, may be subject
          to discipline, including termination. Harassment of employees with disabilities or
          diseases will not be tolerated.

          To create a productive work environment free of bias, and bullying, it is our policy that
          conduct by any employee which harasses, disrupts or interferes with another
          employee’s work performance, or which creates an intimidating, offensive or hostile

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          work environment, will not be tolerated. It is important to remember that even humour,
          when interpreted by another as offensive, may constitute a form of harassment.

          This policy applies to workplace conduct, conduct at company functions or while on
          company business, and to employees at all levels and positions within the company.


          Harassment Complaint Procedure
          Employees are expected to treat co-workers with respect and to refrain from any
          conduct, which may be construed as harassment If you experience or observe any job-
          related harassment by employees, customers, or other third parties based on sex, race,
          or any other factor, or if you believe that you have been treated in an unlawful,
          discriminatory manner, it is your duty to promptly report the incident to our Human
          Resource Department. You are not required to complain first to the person who is
          harassing you. If for any reason you are not comfortable reporting the incident to the
          Human Resource Department, then you should bring the situation to the attention of any
          member of company management. Your complaint will be kept confidential to the
          extent possible, as determined by the company. The company may request a written
          statement of your complaint to facilitate the investigation of your complaint.

          All employees are expected to cooperate in investigations of harassment complaints by
          providing truthful information in response to any inquiry. Retaliation may result in
          disciplinary actions, up to and including termination. However, if after investigating any
          complaint of harassment the company should determine that the complaint was
          untruthful or that an employee has provided false information regarding the complaint,
          disciplinary action, up to and including termination, may be taken against an individual
          who knowingly filed an untruthful complaint or gave false information.

          The company will investigate any claims of harassment promptly, impartially, thoroughly
          and, to the extent possible, confidentially. However, if an employee is not satisfied with
          the way a complaint or investigation is handled, he or she should bring this to the
          attention of a member of the company management. In all cases, the employee making
          the complaint will be advised when an investigation has been concluded.

          Dress Code
          Employees are expected to use good judgment in grooming, personal hygiene and
          dress. Attire worn should be in good taste, without profanity, and should not expose the
          employee to any safety risks. Appropriate undergarments must be worn always.

          For employees working in the plant environment, denim clothing, work pants, tank tops
          and t-shirts are all acceptable, if undergarments are not visible. Clothes that are
          excessively torn, tattered or ripped are not acceptable for any employee. Tops that are
          cut away to the midsection of the body are not acceptable for any employee. Some
          areas may require fire retardant material to be worn. Steel toed shoes must be worn.

          Office personnel are not to wear open toed or open heel shoes when on the shop floor.

          At management’s discretion, employees who are inappropriately dressed will be asked
          to change and time away from work to change will be unpaid. Questions regarding

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          appropriate attire should be directed to an employee's supervisor or the Human
          Resource Department prior to wearing the item.

          Company/ Personal Vehicles
          Operators of company vehicles are responsible for the safe operation and cleanliness of
          the vehicle. Accidents involving a company vehicle must be reported to the VP of
          Finance and Administration as soon as possible for insurance purposes. Employees
          are responsible for any moving/operating violations and fines, which may result when
          operating a company vehicle. The use of cell phones or other forms of driving while
          distracted are prohibited. The use of seat belts is mandatory for all operators and all
          passengers of company vehicles. Smoking is not allowed in any company owned
          vehicle. Drivers are required to complete the proper logs and comply with requirements
          in the Driver Manual. Damages to personal vehicles parked on company premises are
          the employee’s responsibility.

          Losses By Theft or Malicious Conduct
          Respect and protection of company property and employee’s personal property is
          everyone’s concern. Whenever an occasion of theft of company or personal property
          occurs or whenever it is apparent that malicious destruction of property has occurred on
          company premises or customers' property, the company may investigate and/or may,
          on a case-by-case basis, contact the appropriate law enforcement agency to investigate
          the incident. Offenders will be prosecuted. If you find property missing or damaged,
          report it immediately to your Supervisor. The company is not responsible for personal
          losses regardless of where they occur.


          Smoke Free Environment
          Smoking is not permitted in any area of the building, or in any company vehicles.
          Smoking is only permitted during designated breaks, outside, far enough away from the
          building, so the smoke does not intrude into the enclosed space through entrances,
          exits, windows that are open and ventilation intakes.

          Telephone I Cell Phone Policy
          It is essential that we keep phone lines open for business calls. Although the
          occasional use of the company’s telephones for a personal emergency may be
          necessary, routine personal calls are discouraged and limited to breaks only.

          Cell phones are not permitted on the production floor, unless authorization has been
          obtained by the Plant Manager.



          Social Media Policy
          GB recognizes that employees may use social media websites or similar media
          including, but not limited to, blogs, chat rooms, online journals, personal websites,
          Facebook, Instagram, Twitter, Linkedln, etc. (hereinafter referred to as “personal
          websites").

          Employees are reminded that information posted on personal websites can often be
          viewed by members of the public, by other employees (including company
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          management), by customers or clients of the company, or by competitors. What's more,
          employees should remember that almost all input online is archived, so even posts that
          have been deleted may be uncovered or recovered by someone. Social media content
          may also be reposted and shared and may reach individuals the user hadn't intended to
          reach; online content is rarely completely private.

          While GB understands that many individuals use the internet as major communication
          tool, it is often more effective to resolve work-related issues by speaking directly to
          coworkers than by complaining via a social media outlet.

          Social media use on nonwork time

          Employees should also be aware that their actions outside of work, including those on
          social media sites can affect the workplace. The same principles and guidelines found
          in GB’s policies apply to employees' activities online.
          Employees that violate company policies while on social media may face discipline.
          Threats of violence, harassment, or discriminatory behavior will not be tolerated by GB,
          no matter the medium, and no matter when such posts are made (whether during or
          outside of work hours).

          Social media use on work time

          Employees should refrain from using social media while on work time unless they are
          specifically authorized to do so by a manager or other authorized company official. Do
          not use your company email address to register on personal websites.

          Employee Communications
          Information of interest and importance to you is regularly posted in our Employee on the
          bulletin board by the time clocks. We suggest that you look at these areas regularly to
          keep up with what is happening.

          The GB Insights is our monthly newsletter publication for and about all employees of
          Company Please direct articles on births, other announcements and special hobbies
          you would like to share to the Human Resource Department.

          Our Company-Wide Meetings are designed to share information regarding progress
          towards company goals and objectives. Metrics covering financials, sales, safety,
          quality, efficiencies, and various other topics of interest are covered.

          Visitors
          Employees will be notified if there is a visitor who needs to interrupt the workday for
          some unusual or emergency needs. These visits are restricted to supervised areas. All
          visitors should sign in at the front office.

          Loitering on the Premises
          Except as necessary for work-related reasons, employees are not permitted to be on
          company property when not scheduled to work. Any employee who has a work related
          reason to be on Company premises during non-scheduled work times must enter the
          front building entrance and ask for assistance at the front desk. Any employee who
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          loiters on company premises without a work-related reason will be subject to discipline,
          up to and including termination.

          Employment of Relatives
          We will hire the most qualified candidate for the job. We reserve the right not to hire a
          relative for a position that involves working closely, supervising or being a subordinate
          to a current employee.

          Confidentialitv/Conflict of Interest
          It is the company’s policy to avoid potential conflicts of interest that may possibly
          interfere with an employee's performance or the company's ability to favourably
          compete within the industry.

          The materials, products, designs, plans, ideas, data and proprietary business
          information including, manuals and handbooks of the company, whether electronic or
          printed, are the property of the company and should never be given to an outside firm or
          individual except through normal channels and with appropriate authorization.
          Employees are responsible for protecting and preserving the confidentiality of any
          proprietary or trade secret information which comes into their possession. Any
          employee who participates in a prohibited practice will be subject to disciplinary action,
          up to and including termination of employment and legal action.

          No messages disclosing such information should be transmitted to any individual or
          entity, other than another employee, verbally or in writing, by regular mail, electronic
          mail, facsimile or otherwise, without the express approval of GB management.
          Transmission of sensitive information relating to the internal affairs or personnel of
          Company by electronic mail, regular mail, facsimile or any other means to an outside
          individual or entity is prohibited.

          For purposes of implementing this policy, proprietary, trade secret information of
          Company and its former, current and potential future customers and suppliers includes,
          but is not limited, to the following:

               •   Customer and supplier documents or electronic correspondence.
               •   Financial, sales and marketing data, plans and strategies compiled by Company
                   or any of its former, current or potential future customers or suppliers,, actual or
                   potential, from not being generally known and readily ascertainable by
                   competitors and others who can obtain economic value from the disclosure or
                   use of such information;
               •   Ideas, concepts, information and written material about a customer or supplier or
                   a customer’s or supplier’s materials, product or process, not othewise publicly
                   disseminated.

          This confidentiality policy also applies to personnel information relating to any former or
          current employee or any applicant for employment with Company. Sensitive information
          regarding employees of the Company should be shared only by and with those,
          including the employee, who have a legitimate business need to know the information.



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          It is each employee’s responsibility to see that the above guidelines are followed. If an
          employee is uncertain as to the sensitive, confidential or proprietary nature of any
          information in his or her possession, the employee is responsible for seeking
          management approval prior to disclosing or releasing the information to any individual
          or entity outside the Company.

          General Computer Usage Policy
          General Usage

                The companies operating systems are all convenient business tools that
                are provided by Company to our employees, for the specific business
                purpose of enhancing productivity and improving communications
                between employees and with customers and suppliers. The General
                Computer Usage Policy has to safeguard corporate information assets.
                That commitment must extend from every individual involved in business
                operations, use of these tools demonstrates acceptance of this policy.

                    •   All software and hardware acquired for or on behalf of GBM & GBF or
                        developed by company employees or contracted personnel is deemed
                        company property.
                    •   Unauthorized use, destruction, modification, and/or distribution of
                        Company's information or information systems is strictly prohibited.
                    •   All Company's information systems will be subject to monitoring and
                        auditing at all times. Users acknowledge that they have no expectation of
                        privacy with regard to their activity on Company’s information systems.
                    •   Use of any Company system to access or communicate obscene,
                        offensive, disruptive, pornographic, harassing, threatening, violent, or
                        otherwise offensive material including but not limited to religious, ethnic,
                        racial, sexual or gender specific, age, or disability/handicap, or national
                        origin, or any other characteristic protected by federal, state or local law is
                        strictly prohibited.
                    •   By using Company systems, you assume personal responsibility for
                        appropriate use and agree to comply with all company policies and all
                        laws and regulations.
                    •   Individual passwords will be kept strictly confidential. In no situation
                        should a username and password be given to another individual.
                    •   Non-business Internet activity will be restricted to breaks or other non­
                        business hours.
                    •   All e-mail on the Company information systems, including personal e-mail,
                        is the property of Company. As such, all e-mail can and may be
                        periodically monitored.
                    •   All equipment and systems must be used in compliance with applicable
                        licenses, notices, contracts or agreements. Please discuss any needs for
                        software or hardware, other than what has been loaded as standard, with
                        a member of the Information Technology Team.

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          Travel/Expense Accounts
          The company will provide employees a peridium for food and provide transportation and
          hotel accommodations as needed for business travel. Business expenses not on a
          company credit card will be reimbursed: travel expense; automobile/mileage; lodging;
          tips; and business meals. The authorized receipts must be turned in to the Accounting
          Department for reimbursement within the same month it occurred.

          Reference Checks/Release of Information
          It is our policy that all reference checks must be addressed by the Human Resource
          Department. The only information the company considers public and will disclose
          without a signed release from you is start date, last day worked, position held, and re­
          hire status. Upon your consent, any legitimate inquiries about your employment details
          will be answered with accurate, objective facts out of your personnel file. Even if you
          have not consented to a referral, we will not misrepresent or fail to provide information
          about employees who pose a foreseeable risk to others.

          COMPENSATION & BENEFITS
          Employment Status

          Staffing Associate (An associate through a staffing service, not on payroll)
          Depending on timing available to fill an open position, or for a position that may not be
          long term, open positions may be filled with a staffing associate from a staffing service.
          Those who join our organization through this method could be considered for full-time
          employment once their assignment is completed or the contracted time with the staffing
          service is completed. While on a staffing service payroll, associates are encouraged to
          fully participate in scheduled company activities. If a staffing associate joins as a full-
          time employee, insurance benefits become available at the first of the next month (after
          hire date). Other benefits are based on actual full-time hire date.

          There are two categories of Regular employee status:

          Full-time, regular employee
          Any employee who works forty (40) hours or more per week, and has successfully
          completed his/her introductory period of employment. Generally, they are eligible for
          the company’s benefit program, subject to the terms, conditions, and limitations of each
          benefit offered by the company.

          Part-time, regular employee
          Any employee who averages less than forty (40) hours per week and has successfully
          completed his/her introductory period of employment.



          Compensation Type
          Hourly
          This is called Non-Exempt by the Federal Government. These are employees who are
          paid by the hour to complete their work and they are eligible for overtime after 40 hours


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          worked in a work week. Hourly employees are not permitted to work off company
          premises unless approved by their manager and HR is informed.

          Salary
          This is called Exempt by the Federal Government. These are employees who meet the
          Federal guidelines for Exempt status and are paid a weekly or semi-monthly salary to
          complete their work. They are not eligible for overtime after 40 hours worked in a work
          week.

          Base Compensation Program
          The objectives of the compensation program at Company are internal equity, external
          competitiveness and pay that is based on good performance along with skill and ability.
          Good performance includes attendance, working safely, participating in continuous
          improvement programs, making quality parts, efficiency, and actively practicing the core
          values. The way to earn more is to learn more skills, and to take on additional
          responsibilities. Our wage policies are the foundation for assuring fair and proper pay
          for the job, for rewarding good performance, initiative, and for attracting and retaining
          high quality people.


          Incentive Programs
          Performance Based Bonus Program - Quest to be Best Metrics
          This pay for performance-based bonus program is to provide a financial incentive for all
          employees to become engaged in meeting corporate performance metrics. We believe
          that only by having all employees focused on the correct objectives can GBM & GBF
          truly meet both our customer expectations and our company financial objectives.

          Progress towards the current metrics are discussed in the company wide meetings. For
          more information on the current metrics and details of this program, please see your
          supervisor, or the Human Resource Department.

          Wooden Nickel Policy
          The purpose of the Wooden Nickel Policy is to motivate employees and reward positive
          results. Employees have an opportunity to earn Wooden Nickels as outlined in the
          policy. Wooden Nickels will be redeemable for items available through the Human
          Resource Department.

          Please see a current Wooden Nickel brochure for participation guidelines.

          Performance Reviews
          Your good performance is critical, the company’s very success depends on it and so
          does your pay. The better your performance, the greater will be your opportunity for
          pay advancement.

          Each employee will be reviewed annually. In the performance review session, your
          performance will be reviewed by your supervisor and discussed with you. As part of
          your performance review, you and your supervisor should discuss your current job
          description and your interest in future growth. The performance review process is a


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          good tool for communication, recognition, evaluation, development and career planning
          as well as a record of your work progress.

          Pay Deductions/Support Qrders/Garnishments
          The company is permitted by law to make certain deductions from every employee’s
          compensation. Among these are applicable Federal, Social Security, Medicare, State,
          and Local income taxes.

          The company offers programs and benefits beyond those required by law. Eligible
          employees may voluntarily authorize deductions from their pay checks to cover the
          costs of participation in these benefit programs.

          Court ordered payments like support orders and garnishments are deducted and
          forwarded to the courts. To reimburse the company for administrative costs, we may
          elect to withhold an administrative fee as allowed by law.

          Any questions concerning why deductions were made from the paycheck or how they
          were calculated should be directed to the Human Resource Department.

          Promotions/Transfers
          Whenever possible we will promote or transfer qualified employees to higher level
          vacancies based on performance and merit. Some positions may require hiring from
          outside for special job skills.   Merit is defined as management’s evaluation of
           performance which includes knowledge, experience, quality, quantity, initiative,
          judgment, innovation, orderliness, courtesy, cooperation, loyalty, longevity, reliability,
          stability and attendance. Please discuss any interests in another position with the
           Human Resources.


          Personnel Files
          A personnel file is established for each new employee when employed at the company.
          The file contains your application and other important job-related information. All
          personnel files are kept private and locked. If you would like to view the contents of
          your file, you may do so in the Human Resource Department. It is essential that you
          take the responsibility as an employee to keep us informed immediately of any changes
          in personal information, education, or training, and other pertinent information. This will
          assist us in case of an emergency or benefit change.

          Time Reporting
          All hourly employees must record their hours on a time clock. Failure to clock in and out
          may impact your pay. You should clock out for your meal break, if you leave the
          premises. Do not clock in more than 10 minutes before the beginning or after the end of
          your shift unless you are on authorized overtime. Under no circumstances should you
          clock in or out for another employee.

          Time records are legal documents, subject to audit. Failure to submit time records in an
          accurate and timely manner or falsifying such records can lead to disciplinary action up
          to and including immediate discharge.


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          Pay Periods
          Employees who are paid weekly will be paid for the period that has ended on the
          previous Sunday. When payday falls on a holiday, the payday is normally on the last
          working day before the holiday. See you supervisor for day of week that you will be
          paid.

          Any checks that have not been distributed on the shift of your pay day will be available
          in the Human Resource Department.

          Written authorization from an employee must be received to permit another employee/or
          person permission to pick up a paycheck. Authorization must be given to the supervisor
          or HR department. For the employee's security, we may request photo identification of
          the person picking up their check.

          Work Hours
          Due to diverse and changing requirements, each department’s hours may vary because
          they are dictated by customer and business demand.

          Overtime
          While undesirable, there may be times when we need to schedule overtime work so that
          we may successfully meet the needs of our customers. Overtime will be scheduled at
          the discretion of the Company. It is essential that the overtime work be completed in
          the most cost-effective, productive and efficient manner possible. We have therefore
          created a workstation coverage list and selection process to follow when overtime is
          necessary.

          All overtime for plant and office employees must be approved in advance by their
          Supervisor. Working unauthorized overtime may lead to disciplinary action. Hourly
          employees will be paid at a rate of time and one-half their regular hourly rate for hours
          worked over 40 hours in a week. Double time is paid to hourly workers who are
          required to work on Sunday and have 40 hours in the week before Sunday.

          Vacation, jury duty and days taken for bereavement are not computed into the
          workweek for overtime purposes; however, holidays are computed into the workweek.




          Shift Premiums
          A premium rate is paid to employees who work an eligible shift.

          Meal Periods
          Meal break should be taken every day. Your Supervisor is responsible for scheduling
          this time depending on the number of hours worked in a shift. Unpaid meal breaks will
          automatically be deducted.

          Breaks
          Each full-time employee is entitled to a break or two depending on the department work
          schedule. The Supervisor will schedule plant employee breaks. Office employee breaks

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          should be taken at a natural breaking point between tasks. Due to the nature of office
          work, this may not necessarily be the same time each day. Break time is to be
          scheduled with your Supervisor. Break times are for ten (10) minutes. Employees may
          not leave the premises during breaks.

          Clean up
          At the end of each shift, ten (10) minutes are designated for cleaning the work area and
          washing up.

          Holidays
          We believe everyone deserves to enjoy the holidays.         Therefore, we observe the
          following holidays:

               •   New Year’s Day
               •   Memorial Day
               •   Independence Day
               •   Labor Day
               •   Thanksgiving Day
               •   Day After Thanksgiving
               •   Christmas Eve Day
               •   Christmas Day

          If one of the above holidays falls on Saturday, or Sunday it normally will be observed on
          the following Monday. Company observes the right to observe the holiday on any
          designated day. Full-time employees are eligible for paid holidays after completing 30
          days of employment.

          You must work your full scheduled workday before and after a holiday to be paid for the
          holiday, unless you are absent with prior permission from your Supervisor.

          Group Insurance
          Eligible employees may participate in our group insurance plans. To be eligible, an
          employee must work full-time, have completed their introductory period and be actively
          employed on the first of the month following completion of 60 days of employment.

          To assist you with the cost of this insurance, our company pays a portion of the group
          policy premiums. You are responsible for paying your portion through payroll deduction.
          This is done on a pre-tax basis.

          Current enrolment forms, policy information, and contribution amounts may be obtained
          from the Human Resource Department.

          Separated (or laid off) employees insurance coverage stops on the last day of the
          month. To continue coverage, please see section on Continuation of Coverage
          (COBRA).

          Employees recalled from layoff can be reinstated on the insurance plan effective the
          first day of the following month (after return). Employees must also be actively

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          employed at the beginning of the following month to be eligible. For more information
          on this, please contact the Human Resource Department.

          Employees are responsible to keep us current of any changes affecting insurance
          status, such as birth, marriage, divorce, death, etc. Any changes must be
          reported within thirty (30) days of the occurrence.

          Available group policies include:
            • Medical Insurance
            • Dental Insurance
            • Vision Insurance
            • Life Insurance
            • Short Term Disability
            • Long Term Disability

          Insurance Benefits while on an Authorized Leave
          We will continue to provide group insurance coverage, for any group plan you are
          currently on, for employees on authorized medical disability leave or other FMLA leave
          for the first 12 weeks of the leave. To prevent cancellation, employees are responsible
          for paying their same portion of the premium, while they are on leave, as during active
          employment. When the above period expires, you may continue eligible group
          insurance policies by continuing them through COBRA. See the handbook section on
          CORBA for more information.

          Time taken as a short-term disability benefit also counts as FMLA Leave.         Please
          review that section of the handbook for more employment related information.

          You must inform us when you are able to return to work. If you are released to return to
          work within 12 weeks, you will be returned to your normal or an equivalent position. If
          you are off longer than the 12 weeks protected by the FMLA, we will do our best to have
          a position for you to return to, however, that decision will be based on customer demand
          and staffing requirements at the time you are released to return. If you are off longer
          than the 26 weeks covered by the Short-Term Disability policy, your employment status
          will be changed to separated, and the appropriate separation processes will be initiated.

          Upon return, you must bring a doctor’s certificate stating that you are able to return to
          work which outlines any restrictions. We will attempt to find work for you within the
          restrictions required by your physician. We also reserve the right to require a physical
          examination by a physician of our own choosing prior to your resumption of duties.

          Continuation of Benefits (COBRA)
          You and your covered dependents will have the opportunity to continue medical, dental,
          and vision benefits for a period of up to eighteen (18) months, and under some
          circumstances up to thirty-six (36) months under the provisions of the Federal
          Consolidated Omnibus Budget Reconciliation Act (COBRA) when group coverage for
          you and your covered dependents would otherwise end because:

               •   your employment terminated, for reason other than gross misconduct;
               •   your employment status changes due to a reduction in hours;
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               •   your child ceases to be a “dependent child” under the terms of the medical or
                   dental plan;
               •   you become divorced or legally separated;
               •   you become entitled to Medicare; or
               •   you die.

          In the event of divorce, legal separation, or a child’s loss of dependent status, you or a
          family member must notify the Human Resource Department within 30 days of the
          occurrence of the event.

          The Human Resource Department will notify the eligible individuals of their right to elect
          COBRA continuation of coverage.

          Vacation Pay
          We encourage all employees to take vacation time. Paid vacation time indicates that
          Management feels that loyalty through length of service should be rewarded. Vacation
          is calculated according to your anniversary date. The amount of awarded vacation will
          be pro-rated by any time on extended layoff.

                               Length of Service             Number of Weeks
                                After six months                   2 days
                               After One (1) year            3 additional days =
                                                                   1 week
                               After Two (2) years                2 weeks
                               After Five (5) years               3 weeks
                             After Twelve (12) years              4 weeks

          The order requests are received in determines priority when scheduling vacation times.
          Employees should submit their request for vacation in writing at least two (2) weeks in
          advance to their Supervisor. To assure adequate staffing in all areas, the company
          reserves the right to restrict vacation time.

          Vacation may be taken as a half or a full day. Requests for less than a half day will not
          be considered.

          Special requests for vacations over one (1) week at a time may be considered.
          Vacation time used less than a full week at a time will be paid with the hours worked in
          that pay period. Vacation time used within two pay periods will be paid with each
          individual pay period. Vacation time paid for a full week in one pay period will be paid
          with the regular check run for that pay period.

          Vacation time may be carried over from one year to the next. (Limited a maximum of 1
          weekMOhrs can by carried over). Employees will be paid for any awarded but unused
          vacation upon separation of employment if they give two weeks* notice of leaving.
          When an employee is terminated, they will not be paid for any unused vacation time.




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          401 (k) Retirement Plan
          Our company provides eligible employees an opportunity to enroll in a 401 (k) plan. To
          participate in the program, you must be a full-time employee who has completed ninety
          (90) days of employment and also must be 19 years of age.

          You may have up to 100 percent of your gross income, up to the current annual
          maximum, deposited into the plan on a pre-tax basis. After one year of employment, the
          company will match 25 percent of the first 10 percent of your contribution. The
          company may elect contributions to the plan depending on profit. Contributions made
          by the company are vested over a five-year period (20 percent per year). Employee
          contributions are always 100 percent vested. The plan provides several investment fund
          alternatives to choose from.

          In the event of a temporary layoff (where we know a return to work date) the balance in
          the 401 (k) fund will remain inactive until the employee returns to service. Dispersing the
          401 (k) account can be done at the separation of employment. The 401 (k) should be
          dispersed within 6 months of separation of employment. Accounts left after separation
          containing under $5000 will be automatically cashed out.

          If the fund has been dispersed due to separation, and there is a return to service within
          five years of the last day worked, the fund may be re-instated. All money dispersed
          must be returned to the fund, or the vesting process will start over.

          Any questions about the plan, or requests to view the Plan Document, may be directed
          to the Human Resource Manager or the Vice President of Finance and Administration.

          Automatic Deposit (ACH)
          All checks will be deposited electronically. This can be with any bank receiving an
          electronic transfer. If you do not have a bank please see the Human Resource
          Department to assist you in setting up a debit card payment option.

          Employee Assistance Program (EAR)
          Company has elected to offer an Employee Assistance Program. As an employee of
          Company, you and your eligible family members can seek assistance through the EAP.
          They are professionals who have years of experience helping people work through a
          variety of personal problems, such as stress, depression, financial difficulties, chemical
          dependency, divorce, and more.        Participation in our EAP program is strictly
          confidential. Information on the EAP can be obtained through the Human Resource
          Department.


          TIME OFF WORK
          Attendance Policy
          Company has adopted a no-fault attendance policy.               Court notices or medical
          documentation is not necessary to determine if a tardy, leave early, or absence is
          legitimate. If you need to miss work, we trust it is for a legitimate reason, and that you
          do not put yourself in jeopardy of disciplinary action. To maintain efficient operations,


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          we do not employ more people than necessary to cover absenteeism. Your regular
          attendance contributes to the success of the company.

          PERSONAL DAYS
          Employees will get two personal days per year that can be taken in half day increments.
          These are unpaid days and will count against perfect attendance bonus.

          TIME OFF
          If within the previous twelve (12) months from the date of the present infraction an
          employee now has a total of:

                   7 Occurrences                        Verbal Warning
                   8 Occurrences                        Written Warning
                   9 Occurrences                        Final Warning
                   10 Occurrences                       Discharge


                   0 Occurrences                         Late less than 12 minutes must be
                                                         made up at end of shift
                   .25 Occurrence                        12 minutes to 2 hours late
                   .5 Occurrence                         Up half your shift (4-5 hours)
                   1 Occurrence                          Half your shift to full shift
                   2 Occurrences                         No call no show

               •   Only after three days missed, supporting medical documentation is
                   required and will count as one occurrence. See section on Leaves of
                   Absence for Medical Leave and Family Medical Leave Act (FMLA)

          All employees are expected to call in and leave a message on the Call Off Voicemail
          before the start of their shift if they are going to be absent. The only exception for not
          calling is a true emergency. If you do not contact the call-in line it will be a no call no
          show. Do not contact your supervisor. This will not count as a call off.
          Reaching a Final Warning for attendance for the third time in eighteen months, or
          other patterns of attendance occurrences will be considered chronic attendance
          problems and subject to termination even if the above policy is not violated.

          No Call and No-Show Policy
          Any employee who fails to personally call in to the phone 419-822-5323 x 9 and fails to
          show up for his/her scheduled work hours for two (2) shifts in a row, will be considered
          to have abandoned his/her position with us and considered voluntarily quit.

          Severe Weather
          Severe weather can occur during the winter months. Although driving may at times be
          difficult, when caution is exercised, the roads are normally passable. Except in cases of
          a local state or county rules, we are all expected to work our regular hours.
          Announcements will be available on local TV Stations. (Level 3 in your County, the
          county you work in, or you must drive through to get to work) will be announced on local
          TV Stations.

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          Leaves of Absence
          A leave of absence is an extended period when an employee is absent from work. A
          written request for such a leave must be presented to the employee's immediate
          Supervisor at least 2 weeks in advance of the leave (when possible). We will make
          reasonable efforts to return you to the same or similar job as held prior to the leave of
          absence, subject to our staffing and business requirements. Failure to report on the first
          day following the expiration of the leave will be considered voluntary termination.

          Positions will generally be held for employees on leave up to six (6) weeks, unless
          otherwise specified for that type of leave. After this period, the company cannot
          guarantee a position for the employee.

          Bereavement Leave
          We recognize all families are not structured the same, therefore your HR Department
          will approve bereavement leave when appropriate. Full-time employees will receive a
          paid leave of up to three (3) days to attend the funeral of immediate family only provided
          the days off are on normal scheduled workdays, up to and including the day after the
          funeral. It is your obligation to provide proper documentation of the funeral date or
          bereavement pay will not be granted.

          Military Leave
          We will abide by federal and state laws in regard to military leaves of absence. Please
          provide your Supervisor with your orders as soon as you receive them.

          Family & Medical Leave
          Company complies with the Family Medical Leave Act. This is an overview of the
          policy, and not intended to cover every detail of the Act. This leave provides that
          employees who have worked a minimum of 1,250 hours in twelve (12) months of
          continuous service are entitled to up to twelve (12) weeks unpaid leave. This leave can
          be used for an employee’s serious health condition, care for a spouse, child or parent
          who has a serious health condition, to care for a new-born child or a child newly placed
          in the employee’s custody. This leave also provides for twenty-six (26) weeks of unpaid
          leave for a ‘qualifying exigency’ to care for a spouse, son, daughter or parent who is on
          or called to active duty in the armed forces during deployment to a foreign country.
          The leave requires proper documentation of at least thirty (30) days advance notice (if
          possible) and medical documentation in advance of the leave. Positions with the
          company will not be held available beyond the twelve (12) week, or twenty-six (26)
          week leave period. All available rewarded vacation time must be used first. The
          substitution of paid leave for unpaid leave does not extend the twelve week leave. The
          FMLA protects your absence for a serious health condition, but it does not protect your
          failure to follow Company policies.

          Jury Duty Leave
          Full-time employees who are summoned for jury duty will be paid their regular rate of
          pay, for scheduled hours missed, for up to one (1) week. Employees must provide the
          company with documentation from the court to be compensated.

         You should provide your Supervisor with your summons as soon as possible. In
         fairness to our company, you are expected to return to your job if you are excused from
         jury duty during your regular working hours.
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          Voting Leave
          Our company believes that every employee should have the opportunity to vote in any
          state or federal election, general primary, or special primary. Employees will be granted
          a reasonable amount of time off to vote when their work schedule does not permit a
          reasonable amount of time to visit the polls otherwise. This time will be unpaid.


          PERSONAL CONDUCT
          Conducts
          Accountability:
              • Be Responsible
              • Hold Each Other Responsible (Team)
          Integrity:
              • Do the Right Thing:
              • Think GB First
          Respect:
              • Listen to others views
              • Accept honest feedback

          Progressive Discipline Policy
          We believe in progressive discipline which involves providing employees with a path to
          improve their performance. The facts and nature of the offense will determine the
          penalty. Depending on the nature and circumstances of the violation, any step or steps
          of our procedure may be eliminated at the sole discretion of Management. Also
          depending on the nature of circumstances of the violation, additional action may be
          included such as re-training or unpaid suspensions.




          Our progressive discipline policy is as follows:

                     Strike 1 violation of a company             Verbal Warning
                     policy,  procedure,    or  poor             (documented)
                     performance
                     Strike 2 violation of a company             Written Warning
                     policy,  procedure,    or  poor
                     performance
                     Strike 3 violation of a company             Termination
                     policy,  procedure,    or  poor
                     performance

          While we believe in giving a chance to improve, some actions are so extreme that they
          may warrant immediate suspension or termination. These actions include:

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               •   Theft either of company property or stealing company time by intentionally “not
                   working” and noting that you worked.
               •   Gross Insubordination; refusal to complete duties as required by his/her
                   Supervisor.
               •   Falsification of work hours or any other company document. Using false or
                   misleading information as a means of obtaining employment.
               •   Possession, sale, or use of drugs or intoxicating beverages or being under the
                   influence of such substances, during working time or on company property.
               •   Leaving company property without permission.
               •   Verbal and/or physical abuse of any person while on company property.
               •   Unauthorized use of company equipment, resources, or assets.
               •   Serious violation of internet/email usage policy.
               •   Violation of a safety regulation.
               •   Unauthorized possession, use, or sale of weapons, firearms, or explosives on
                   work premises.

          The above list is not meant to be all encompassing. Please refer to the general work
          rules section.

          In addition, warnings in multiple areas may be bundled and elevated to the next warning
          level.




          SAFETY
          Safety Guidelines
          The company strives to provide a safe work environment for all its employees. Accident
          prevention must be considered a major responsibility of all employees and you are
          urged to be careful while performing your work. Safety is a two-way proposition and no
          safety program can succeed without total cooperation.

          Safety can only be achieved through teamwork. Everyone must practice safety
          awareness by thinking defensively, anticipating unsafe situations and reporting unsafe
          conditions immediately. Please observe the following precautions:

          Notify your Supervisor or a First Responder of any emergency situation.

               •   If you are injured or become sick at work, no matter how slightly, you must inform
                   your Supervisor immediately.
               •   The use or possession of alcoholic beverages or illegal drug substances, or the
                   misuse of legal prescription drugs during working hours will not be tolerated.
                   (Refer to the Drug and Alcohol program.)
               •   Use adjust and repair machines and equipment only if you are trained and
                   qualified.
               •   Get help when lifting or pushing heavy objects. Lift from your knees and not from
                   your back.

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               •   You are expected to keep your work station neat, clean and organized always.
               •   Report anything that needs repair or replacement to your Supervisor.
               •   Understand your job fully and follow instructions. If you are not sure of the safe
                   procedure, don’t guess...ask your Supervisor.
               •   Perform safety pre-checks a required. Never alter, bi-pass or remove a safety
                   guard or device.
               •   Know the locations, contents and use of first aid and fire fighting equipment and
                   know the emergency evacuation routes/shelters. See postings by timeclocks
                   and refer to the Emergency Action Plan on the Employee Information Board.
               •   Safety equipment must be worn in accordance with the job you are performing,
                   see Personal Protective Equipment (PPE) based on workcenter. The company
                   stocks many types of personal protective equipment.           Please discuss any
                   requests with your Supervisor
               •   Only use lockout locks as explained in the lockout/tagout program. See
                   Lockout/Tagout program in the Employee Information Center.
               •   All employees and visitors must wear safety glasses while in the plant.
               •   All plant employees must wear steel toed footwear. All office employees on the
                   shop floor for extended periods of time must also wear steel toed footwear.
               •   Be familiar with the company’s various safety programs. A copy of all the safety
                   programs are located in the Employee Information Center and in the Human
                   Resource Department.

          Violations may lead to disciplinary action up to and including termination.

          Workers* Compensation
          We are required by state law to carry Workers’ Compensation Insurance. Benefits
          under this plan are governed by the state. These benefits provide medical and
          rehabilitative assistance to employees who are injured while working for their employer.
          All employees are eligible upon date of employment.

          The company pays the full cost of workers’ compensation premium expense for
          coverage. As medical expenses continue to escalate, funds used for wages and
          benefits are otherwise redirected to pay higher and higher premiums. Safety is
          everyone’s business. Our premiums are based on our safety experience. The safer we
          are, the lower these premiums. Filing a fraudulent claim or continuing to receive
          payments in a fraudulent manner will be investigated by state and insurance authorities.

          Workers’ compensation benefits are not paid for any injury which arises out of an
          employee’s participation in any off duty recreational, social or athletic activity, which is
          not part of an employees work related duties.

          Workers’ compensation benefits may be contested or denied if the injury was not
          reported promptly, if the Drug and Alcohol Test results are positive, or the Drug and
          Alcohol Tests are not taken. The results of a test, if positive, or refusal to submit to such
          tests, will create the "rebuttable presumption” that the intoxication or controlled
          substance abuse is the proximate cause of the workplace injury.




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          Reporting Injuries
          The prompt reporting of an injury is not only important for your welfare but for the
          welfare of all employees involved. All injuries must be reported to your Supervisor
          immediately so that he/she may arrange for your prompt care. We reserve the right to
          direct you to the facility of our choice if involved in a non-emergency work-related
          accident. That facility will perform an examination and conduct Drug and Alcohol testing
          according to the Drug and Alcohol Program. (See Drug and Alcohol Program section
          for more information.) Ultimately, it is your choice where you receive treatment, so you
          may refuse treatment after the examination, and go to a Bureau of Workers
          Compensation (BWC) approved physician/provider of your choice. You have up to 2
          hours to report an injury to HR or your Supervisor so an injury report can be
          documented.

          Failure to report an injury promptly and to comply with the Drug and Alcohol Program
          may result in the workers compensation claim being denied or contested.

          Injury reports and accident investigations are performed promptly following all work-
          related injuries. It is important for all involved individuals and witnesses to participate in
          the investigation.

          Lost Time Policy
          Any employee whose doctor provides documentation indicating he/she must not return
          to work on the day of the work-related injury will be paid his/her wages through the end
          of that workday. It is not a lost time injury until the day after the injury.

          Transitional Work Program
          Company participates in the Transitional Work Program offered by the Ohio Bureau of
          Workers Compensation. It is a program that investigates the physical requirements of
          specific jobs within the company, and then communicates these physical requirements
          to the Physician of Record, a physical therapist, and the Human Resource Department
          so the employee can return to work as soon as possible and transition to his or her
          normal job.      We believe that through early intervention, structured rehabilitation
          activities, job accommodations, and a gradual transition back to work, employment
          throughout the recovery process is possible. If you incur a work related injury, resulting
          in lost time, a member of the Human Resource Department will discuss with you the
          possibility of using our transitional work program.

          Drug & Alcohol Program
          I. Purpose

          Company recognizes its responsibility to assure all employees a safe and healthy work
          environment. Company will comply with the Drug-Free Workplace Act of 1988 and the
          drug-free work force rules promulgated by the U.S. Department of Transportation 49
          CFR Part 40. The program objectives are to:

               •   Provide a safe and healthy workplace
               •   Improve quality and productivity
               •   Maintain the reputation of the Company and our employees
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               •   Minimize accidents, absences and tardiness
               •   Provide assistance for rehabilitation and counselling in accordance with this
                   policy
               •   Provide mechanisms for enforcing the policy as well as penalties for violating the
                   policy

          II. Applicability

          All employees of GBM & GBP are subject to this drug and alcohol policy and to the drug
          and alcohol testing as provided herein. The company reserves the right to amend or
          change this policy at its sole discretion at any time.

          III. Employee Assistance Program

          This Company through its health care program, will provide a referral service for
          employees so that employees may benefit from the early detection, care, and handling
          of problems of drug abuse or alcohol abuse. For information on the EAP program,
          employees should contact the Human Resource Manager. An employee may be
          permitted to take an unpaid leave of absence for purposes of undergoing treatment. The
          leave of absence must be requested prior to the commission of any act subject to
          disciplinary action under this policy and prior to the employees’ selection for a test.
          Employees are responsible for seeking assistance BEFORE drug and/or alcohol
          problems lead to violation of this policy.


          IV. Prohibited Substances

          Any illegal drug or any substance identified in Schedules I through V of the Controlled
          Substance Act (21 U.S.C. 812). Use of any illegal drug, misuse of legally prescribed
          drugs, and use of illegally obtained prescription drugs may be considered abuse.

          Legal Drugs

          The appropriate use of legally prescribed drugs and non-prescription medications is not
          prohibited. However, the use of any substance wherein the employee has been warned
          that mental functioning, motor skills, or judgment may be adversely affected must be
          reported to supervisory personnel and medical advice must be sought and reported by
          the employee, as appropriate, before performing work-related duties

          Alcohol

          The use of beverages containing alcohol or substances including medication, food etc.
          such that alcohol is present in the body while performing work duties is prohibited. The
          concentration of alcohol will be expressed in grams of alcohol per 210 liters of breath as
          measured by an evidential breath-testing device or by blood expressed in grams per
          decilitre.

          V. Prohibited behaviors and consequences for violating this policy:


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          The following actions are strictly prohibited, and violation will be cause for disciplinary
          action up to and including discharge:

               1. Use, possession, manufacture, distribution, dispensation, or sale of illegal drugs
                  on Company premises or during Company business hours.
               2. Being under the influence of an illegal drug on company premises or during
                  working hours.
               3. Testing positive for alcohol, illegal drugs or controlled substances without a legal
                  basis for use.
               4. Switching or adulterating any urine sample submitted for testing, or submitting a
                  false sample for testing.
               5. Use of alcohol or being under the influence of alcohol in Company-supplied
                  vehicles, whether during working hours or non-working hours.
               6. Refusing to consent to testing or refusing to submit a urine, blood or breath
                  sample when requested pursuant to Company policy.
               7. Failing, when requested by the Company, to enroll in an alcohol or other drug
                  treatment or counseling program or failing to adhere to the requirements of the
                  program.

          VI. Testing
          To demonstrate its commitment to a drug-free workplace and to ensure an effective
          policy, the Company will provide for pre-employment, random, reasonable cause, post­
          accident, return to duty and follow-up testing. All testing procedures will be conducted
          in a manner to provide basic employee protection and privacy. Other testing may also
          be done where required by government law or regulation or contractor where applicable
          to specific employees.            Any employee who tests positive must seek
          rehabilitation/treatment within five days of notification by the Medical Review Officer.
          Rehabilitation/treatment will be provided by the employee's insurance or if no insurance,
          by the employee.       No employee may return to work without proof of program
          participation and completion. Employees will be allowed one rehabilitation/treatment
          during the course of employment.

               1. Pre-employment controlled substance testing will be conducted.           Applicants
                  whose tests indicate drug use or abuse will not be hired.

               2. Reasonable cause drug and/or alcohol testing will also be conducted on all
                  employees when there is a reasonable belief that the actions, appearances,
                  and/or conduct of an employee may be indicative of drug and/or alcohol use.
                  Reasonable cause testing will be done at the Company expense. Employees will
                  be off work without pay and not be allowed to return to work until the results of
                  the reasonable cause test are available. If the test results prove to be negative,
                  the employee will return to work with compensation for lost wages. "Reasonable
                  cause" includes, but is not limited to: Observation of behavior such as slurred
                  speech, unsteady walking, abrupt mood swings, breath (alcohol), or odor;
                  observation of physical manifestations frequently associated with some forms of
                  substance abuse, e.g„ needle marks, sudden nosebleeds, frequent illness not
                  explained by other medical conditions, accidents: injuries; absenteeism; declining
                  productivity; misconduct; excessive tardiness; and suspicious activity indicating
                  possible involvement with prohibited substances or alcohol in violation of this
                  policy.
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               3. Random tests for drugs and alcohol may be performed.    Drivers will be
                  segregated in a separate random selection pool as per Department of
                  Transportation regulations. Random tests will be done at the Company
                  expense.

               4. Post-accident drug and alcohol tests may be conducted on all employees that
                  have a work-related accident or injury that is suspicious in nature, or when the
                  company feels medical treatment is necessary. All responsible parties will be
                  tested. Drivers will also be tested as per Department of Transportation
                  regulations. Post accident testing will be conducted at the Company expense.

               5. Return to duty tests may be conducted on all employees following a positive
                  test who are permitted to return to work. Return to duty drug and/or alcohol tests
                  will be at the employee's expense. Drivers are also subject to Department of
                  Transportation rules following any positive test. Nothing in this section shall be
                  construed to imply that an employee may not be disciplined, up to and including
                  discharge for receiving a positive test.

               6. After a positive test, and a negative return to work test, a minimum of six follow­
                  up tests may be conducted during the following 12 months. Follow-up drug
                  and/or alcohol tests will be conducted at the employees’ expense, and these
                  tests will be random. A positive follow-up test will be grounds for termination.



          IX. Condition of Employment

          Compliance with the Company's Drug and Alcohol Policy is a condition of employment.
          Failure or refusal of an employee to fully cooperate or submit to any inspection or drug
          test as provided will be grounds for termination.

          Questions regarding this policy should be directed to the Human Resource Manager.



          RESIGNATIONS & TERMINATIONS
          Company and its employees share a working relationship defined as employment-at-
          will. Simply stated, employment-at-will means that you are free to resign at any time,
          and Company reserves the right to terminate your employment for any reason (which
          does not violate any applicable law) with or without prior notice.

          Procedures for Written Notice
          If you determine that you are going to discontinue your employment with us, we ask that
          you give us as much notice as possible in writing, at least 2 (two) weeks. If you choose
          to discontinue employment with us, there are certain aspects of your employment that
          should be discussed during an exit interview.


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          Layoff/Recall Policy
          To be competitive, Company must be prepared to respond to changes in market
          conditions. Such conditions may affect our business activity differently in different
          areas. Work stations will be staffed based on equipment used and specialized skills
          involved. All employment issues, including but not limited to, skills, attendance,
          productivity and efficiency, cooperation, and longevity will be considered in the decision­
          making process of who to lay off and/or recall.

          Exit Interviews
          It is our policy to conduct an exit interview with each employee leaving the company to:

               •   provide the employee with all COBRA information to continue his/her benefits
               •   finalize your compensation
               •   obtain all company property
               •   arrange for repayment due the company
               •   obtain reason for leaving
               •   promote goodwill

          Exit interviews will be scheduled with someone in Management.




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          ACKNOWLEDGMENT OF RECEIPT
              Any reference in this handbook applies to all GB facilities and
            employees, including wholly owned subsidiaries of R&P Industries.

          I acknowledge that I have received a copy of the GB Manufacturing Employee
          Handbook and understand that it is my responsibility to read the handbook in its
          entirety. I agree to abide by the policies and procedures contained therein. I
          understand that the policies and benefits contained in this employee handbook
          may be added to, deleted or changed by the company at any time. I understand
          that neither this manual nor any other written or verbal communication by a
          management representative is intended to in any way create a contract of
          employment, and that this handbook is for informational purposes only. I also
          understand that the company abides by employment-at-will, which permits the
          company or the employee to terminate the employment relationship at any time,
          for any reason with or without notice. The company will not modify their policy of
          employment-at-will in any case.

          If I have questions regarding the content or interpretation of this handbook, I will bring
          them to the attention of my supervisor or the Human Resource Department.



          Printed Name




          Employee’s Signature                                   Date




          HR Acknowledgement                                     Date




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